     Case 3:04-cv-00251-HSO-ASH             Document 719        Filed 04/14/17      Page 1 of 4




                            IN THE UNITED STATES DISTRICT
                          COURT FOR THE SOUTHERN DISTRICT
                          OF MISSISSIPPI NORTHERN DIVISION

OLIVIA Y., et al.                                                                 PLAINTIFFS

v.                                                        CIVIL ACTION NO. 3:04CV251LN

PHIL BRYANT, as Governor of
 the State of Mississippi, et al.                                                DEFENDANTS



 RESPONSE AND OBJECTIONS TO PLAINTIFFS' MOTION FOR AWARD OF CLASS
                   COUNSEL'S FEES AND EXPENSES


         COME NOW the Defendants, and for their Response and Objections to Plaintiff's Motion

for Award of Class Counsel's Fees and Expenses would show unto this Honorable Court as

follows:

         1. The attorneys' fees award sought by the Plaintiffs [Doc #717] is governed by 42 U.S.

Code §1988. This statute requires any attorneys' fees to be reasonable.

         2. Federal courts have created a vast body of law defining reasonable attorneys' fees and

articulating the reasons that some attorneys' fees are excessive, impermissible and unreasonable.

         3. For the reasons set forth in Defendants' Memorandum in Support of Response and

Objections to Plaintiff's Motion for Award of Class Counsel's Fees and Expenses the fees

requested by Plaintiffs are not reasonable, and by this motion the Defendants hereby object.

         4. The Plaintiffs are seeking a windfall through an invoice that fails to demonstrate even a

trace of billing judgment:

         a) The Plaintiffs' attorneys billed an extraordinary amounts just for reviewing invoices;

         b) An excessive amount of time was billed to a prior motion for attorneys' fees [Doc

#686];

                                                  1
   Case 3:04-cv-00251-HSO-ASH              Document 719         Filed 04/14/17      Page 2 of 4




       c) The invoice is filled with vague entries that leave it to the court to discern what legal

work the Plaintiffs actually performed;

       d) The invoice contains duplicative and redundant entries made by the multiple attorneys

performing the same task;

       e) Attorneys charged extravagant rates for performing secretarial work and paralegals

charged high rates for clerical and general overhead work; and

       f) The invoice is also replete with impermissible block billed items that lump multiple

tasks together.

       5. For all of these reasons, the Defendants object to Plaintiffs' motion for attorneys' fees

[Doc #717], and would ask this Court to cull the invoice of all excessive, impermissible and

unreasonable time.

                                      Respectfully submitted,

                                      PHIL BRYANT, as Governor of the State of Mississippi,
                                      DAVID A. CHANDLER, as Commissioner, Mississippi
                                      Department of Child Protection Services, and TRACY
                                      MALONE, as Deputy Commissioner of Child Welfare,
                                      Mississippi Department of Child Protection Services

                                      By: /s/ Kenya Key Rachal




                                                 2
  Case 3:04-cv-00251-HSO-ASH   Document 719   Filed 04/14/17   Page 3 of 4




OF COUNSEL:

BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
Kenya Key Rachal (MSB #99227)
Jake Adams (MSB #101538)
One Eastover Center
100 Vision Drive, Suite 400
Jackson, MS 39211
Phone: 601-351-2400
Fax: 601-351-2424

Harold E. Pizzetta, III
Special Assistant Attorney General
OFFICE OF THE MISSISSIPPI ATTORNEY GENERAL
PO Box 220
Jackson, MS 39205




                                   3
   Case 3:04-cv-00251-HSO-ASH              Document 719         Filed 04/14/17      Page 4 of 4




                                 CERTIFICATE OF SERVICE

I hereby certify that I have this day electronically filed the foregoing with the Clerk of Court
using the ECF system which sent notification of such filing to the following:

Marcia Robinson Lowry
Sara Robinson-Glasser
A BETTER CHILDHOOD
1095 Hardscrabble Road
Chappaqua, NY 10410

W. Wayne Drinkwater, Jr.
BRADLEY ARANT ROSE & WHITE, LLP
One Jackson Place
188 E. Capitol St, Ste 400
Jackson, MS 39201

SO CERTIFIED, this the 14th of April 2017.


                                      /s/ Kenya Key Rachal_________________




                                                 4
